                              IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF ALABAMA
                                         NORTHERN DIVISION

In re:   Michael G. Dombrowski                            )              Case No.: 16-81412-CRJ-11
         SSN: xxx−xx−4413                                 )
                                                          )
                  Debtor.                                 )              CHAPTER 11

                   AGREED ORDER SUSTAINING OBJECTION TO PROOF OF CLAIM

         On November 16, 2017, the Court entered an Order Scheduling Evidentiary Hearing on Debtor’s Objection
to Proof of Claim #24-1 of Creditor Breckenridge Association, Inc. (“Creditor”) (Doc. 570). Prior to the Evidentiary
Hearing, Debtor and Creditor jointly informed this Court that they have consensually resolved this Objection.

         Based upon the agreement of the parties, it is hereby

      ORDERED, ADJUDGED and DECREED that Debtor’s Objection to Creditor’s proof of claim is
SUSTAINED and the Evidentiary Hearing scheduled on December 5, 2017 is hereby VACATED.

         It is further ORDERED, ADJUDGED and DECREED that Creditor’s claim for unpaid home owner
association dues is amended as follows:

         Creditor’s approved claim, as of September 30, 2017, totaled $2,467.48 (the “Approved Claim”). This
amount was collateralized in the following amounts across the below-listed real property units owned by Debtor and
subject to Creditor’s original filed proof of claim:

                  Lot Number                          Pre-Petition                         Post-Petition

                  Lot 28                              $538.87                    $103.00
                  Lot 50                              $538.87                    $103.00
                  Lot 57                              $538.87                    $0.00
                  Lot 97                              $538.87                    $103.00

         Through either direct payments from the Debtor, or through the sale of collateral real property, Creditor has
received total payments of $4,281.35 on its Approved Claim (the “Payments”). The Parties agree that Creditor will
apply the Payments against its Approved Claim, resulting in a surplus of $1,814.27 in funds in Creditor’s possession
(the “Surplus”). Creditor will credit the Surplus in its internal accounting as equal prepayments against future
assessments on Debtor’s accounts for the real properties parcels located at 107 Briargate and 129 Briargate.

         The Parties agree that the Creditor will reasonably assist Debtor with his pursuit of any and all state-law
claims against Creditor’s lawn care subcontractor.

Dated this the 29th day of November, 2017.
                                                                 /s/ Clifton R. Jessup, Jr.
                                                                 Clifton R. Jessup, Jr.
                                                                 United States Bankruptcy Judge



Order Drafted by: Tazewell T. Shepard IV, Attorney for the Debtor
Order Approved by:          Adam C. Dauro, Attorney for Creditor




Case 16-81412-CRJ11               Doc 612 Filed 11/29/17 Entered 11/29/17 10:04:04                            Desc
                                    Main Document     Page 1 of 1
